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   9   Attorneys for Plaintiff/Counter-Defendant,
       Hong Liu
  10
                          UNITED STATES DISTRICT COURT FOR
  11
                        THE CENTRAL DISTRICT OF CALIFORNIA
  12
                                       WESTERN DIVISION
  13

  14
       HONG LIU,
  15                                           Case No: 2:20-cv-08035-SVW-JPR
                    Plaintiff,
  16                                           DISCOVERY MATTER
                           v.
  17
                                               SUPPLEMENTAL MEMORANDUM
  18
       FARADAY&FUTURE INC.,                    OF POINTS AND AUTHORITIES IN
       SMART KING LTD., JIAWEI                 SUPPORT OF PLAINTIFF HONG
  19   WANG, and CHAOYING DENG                 LIU’S EXPEDITED MOTION
                                               FOR DETERMINATION OF
  20                Defendants.                URGENT PRIVILEGE ISSUE AND
  21
                                               TO COMPEL PRODUCTION

  22   FARADAY&FUTURE INC.,                    Complaint filed on:
                                               January 3, 2020
  23                Counterclaimant,
                                               Second Amended Counterclaim filed on:
  24                       v.                  March 11, 2021
  25
       HONG LIU,
                                               JUDGE:      Hon. Jean P. Rosenbluth
  26                Counter-Defendant.         DATE:       April 29, 2021
                                               TIME:       2:30 P.M.
  27                                           CTRM:       690
  28


                                 MEMORANDUM OF POINTS AND AUTHORITIES
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   1         Plaintiff Hong Liu (“Plaintiff” or “Mr. Liu”), by his undersigned counsel, submits
   2   this supplemental memorandum of points and authorities in further support of his
   3   Motion for Determination of Urgent Privilege Issue and to Compel Production (ECF
   4   120) (“Motion”) and the Court’s April 26, 2021 order (ECF 128) (the “Order”) granting
   5   the Motion based on the current state of the pleadings.1 For the reasons set forth in the
   6   Motion, Plaintiff’s oral argument during the Court’s April 26, 2021 hearing, and herein,
   7   the Order should not be modified based solely upon Defendants’ dismissal with
   8   prejudice (after the Order was issued) of their fifth and sixth counterclaims.
   9                                 PRELIMINARY STATEMENT
  10         As the Court correctly recognized at the April 26, 2021 hearing on the Motion,
  11   Defendants’ counterclaims placed at issue every aspect of Plaintiff’s performance
  12   during his employment with FF. As such, the Court held that Defendants had waived
  13   the privilege as to all attorney-client communications relating to Plaintiff’s performance
  14   during his employment. 2 Because the Motion was focused on Defendants’ then-
  15   existing counterclaims, the Court did not have the benefit of Plaintiff’s briefing on the
  16   issue of whether Defendants also waived the privilege through other claims or defenses
  17   they have asserted in this action, including FF and Smart King’s affirmative defenses.
  18         During the April 26, 2021 hearing and in response to the Court’s indication that
  19   Defendants had completely waived the privilege through their counterclaims,
  20   Defendants’ counsel raised the hypothetical possibility that Defendants might dismiss
  21   their fifth and sixth counterclaims in at attempt to limit the scope of the waiver.
  22
       1
         All capitalized terms not otherwise defined herein shall have the same meanings
  23
       ascribed to them in the Complaint (ECF 1) and in Plaintiff’s Motion. “¶__” are
  24   references to paragraphs in the Complaint. “SAA ¶__” are references to paragraphs in
       the respective sections alleging affirmative defenses in FF and Smart King’s Second
  25
       Amended Answers (ECF 93 & 94, respectively) (“Second Amended Answers”). Unless
  26   otherwise noted, all emphasis is added; all internal quotations and citations are omitted.
       2
         The Court also found that Defendants had waived the privilege with respect to other
  27
       issues, including the role of Sidley Austin in reviewing Plaintiff’s employment
  28   agreement.
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   1   Plaintiff’s counsel noted that the Motion was directed to the then-existing state of the
   2   pleadings and that Defendants were impermissibly seeking an advisory opinion. The
   3   Court declined to provide a definitive ruling on how it might rule if Defendants
   4   dismissed their fifth and sixth counterclaims. However, in its Order, the Court ordered
   5   the parties “to meet and confer today to try to resolve the broader privilege-waiver
   6   issues among themselves and, to the extent they do so, must file an appropriate
   7   stipulation by no later than April 28.”
   8           In accordance with the Order, counsel for the parties met and conferred on April
   9   26, 2021. During that meet and confer, Defendants’ counsel indicated that while
  10   Defendants would dismiss their fifth and sixth counterclaims, Defendants intended to
  11   continue to litigate through their defenses in this action the identical issues pled in
  12   those counterclaims. In response, Plaintiff’s counsel informed Defendants’ counsel that
  13   if Defendants continued to place Plaintiff’s performance at issue – whether through
  14   counterclaims, affirmative defenses, or otherwise – the privilege would still be waived.
  15           On the evening of April 26, the parties entered into a stipulation dismissing the
  16   fifth and sixth counterclaims with prejudice. ECF 130. On April 27, counsel for
  17   Defendants requested by email that this Court hold a hearing on whether the Order’s
  18   finding of a privilege waiver should be modified in light of the dismissal of these
  19   counterclaims. For the reasons set forth below, the Order should not be modified – and
  20   certainly not based solely upon the dismissal of fifth and sixth counterclaims.
  21                                         ARGUMENT
  22      I.      DEFENDANTS HAVE WAIVED THE PRIVILEGE BY ASSERTING
                  THEIR AFFIRMATIVE DEFENSES
  23

  24
               It is a well-settled “rule that a litigant waives the attorney-client privilege by

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       putting the lawyer’s performance at issue during the course of litigation.” Bittaker v.

  26
       Woodford, 331 F.3d 715, 718 (9th Cir. 2003). This rule applies “where the client asserts

  27
       a claim or defense that places at issue the nature of the privileged material.” Id. at 719;

  28
       see also Nat.-Immunogenics Corp. v. Newport Trial Grp., 2018 WL 6168035, at *10
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   1   (C.D. Cal. June 12, 2018) (“The Court agrees that by asserting the [affirmative] defense,
   2   Defendants necessarily place privileged information regarding their [affirmative]
   3   defense at issue in the lawsuit. Defendants cannot use privileged communications as
   4   both a sword to assert the [affirmative] defense and a shield to prevent [plaintiff] from
   5   discovering information relevant to the defense—but that is exactly what they are
   6   attempting to do here.”); Nat.-Immunogenics Corp. v. Newport Trial Grp., 2018 WL
   7   6138160, at *5 (C.D. Cal. Jan. 24, 2018) (“the Court finds that by asserting these
   8   affirmative defenses, Defendants have impliedly waived the attorney-client privilege
   9   because they have placed the information supporting those defenses at issue in this
  10   lawsuit.”); Apple Inc. v. Samsung Elecs. Co., 306 F.R.D. 234, 241 (N.D. Cal. 2015)
  11   (“Samsung put the [privileged] documents at issue by raising affirmative defenses”);
  12   Int’l Rectifier Corp. v. IXYS Corp., 2002 WL 35649417, at *5 (C.D. Cal. Apr. 1, 2002)
  13   (waiver had occurred because defendant “may not assert its equitable affirmative
  14   defenses while at the same time asserting the privilege with respect to the
  15   communications and information from counsel that are vital to [plaintiff’s] response to
  16   those defenses”); Fox v. California Sierra Fin. Servs., 120 F.R.D. 520, 530 (N.D. Cal.
  17   1988) (“By asserting affirmative defenses, defendants have placed the information
  18   supporting those affirmative defenses at issue in this lawsuit. The general rule is that
  19   placing privileged communications at issue in a lawsuit waives the privilege for such
  20   communications”); Fox v. Cty. of Tulare, 2013 WL 5347463, at *1, n. 4 (E.D. Cal. Sept.
  21   23, 2013) (“The Court rejected Defendants’ suggestion that privileges are only waived
  22   when communications are used offensively but not when used defensively”).
  23         Here, FF and Smart King raised a panoply of affirmative defenses in their Second
  24   Amended Answers which squarely put at issue Plaintiff’s performance. For example:
  25         • Fifth Affirmative Defense for Reasonable, Good Faith, Non-
               Discriminatory, And Non-Retaliatory: “Liu was terminated for his
  26
               failure to perform under his roles as FF’s Global General Counsel,
  27           Global Chief Administrative Officer, and Global Senior Advisor. Liu
               was also terminated for his serious breaches of contract and the
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               fiduciary duties that he owed to FF, including, but not limited to, the
   1
               duties of loyalty, care, and competence.” SAA ¶5
   2

   3
            • Seventh Affirmative Defense for Breach Of Fiduciary Duty: “Liu’s
              Complaint is barred, in whole or in part, on the ground that Liu violated
   4          the fiduciary duties that he owed to FF during his employment with
   5
              FF . . . Liu breached his duty of care when he, among other things,
              failed to act as a reasonably careful Global General Counsel, Global
   6          Chief Administrative Officer, and Global Senior Advisor would have
   7
              acted under the same or similar circumstances. Liu also breached his
              duty of loyalty by failing to take action in the best interests of FF. Liu
   8          breached his duty of loyalty to FF by, among other things, abstaining,
   9
              refusing and failing to undertake necessary tasks and actions as FF’s
              Global General Counsel, Global Chief Administrative Officer, and
  10          Global Senior Advisor, to further his own self interests.” SAA ¶7.
  11
            • Eighth Affirmative Defense For Recission Based On Breach Of
  12          Fiduciary Duty: “Liu’s Complaint and the claims therein fail to the
  13          extent that they rely upon the Employment Agreement, which,
              because of Liu’s beaches of the fiduciary duties that he owed to FF
  14          and as described under FF’s Fifth and Sixth Affirmative Defenses, is
  15          rescindable.” SAA ¶8
  16
            • Eleventh Affirmative Defense for Breach By Plaintiff: “Liu’s
  17          Complaint is barred, in whole or in part, due to Liu’s breaches of the
              Employment Agreement as detailed in FF’s SAC and incorporated
  18
              herein. Liu’s failure to perform his duties as a Senior Board Member
  19          of Smart King, Global Chief Administrative Officer, Global General
              Counsel, and Global Senior Advisor of FF, constitute breaches of the
  20
              Employment Agreement, excusing any purported nonperformance by
  21          FF.” SAA ¶11.
  22
            • Nineteenth Affirmative Defense Of Equitable Estoppel: “Liu’s
  23          Complaint is barred, in whole or in part, by the doctrine of estoppel.
  24
              When FF entered into the Employment Agreement with Liu, Liu made
              multiple representations of material fact, upon which FF detrimentally
  25          relied. However, once that agreement was entered and Liu began his
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              employment at FF, Liu was unable or unwilling to perform, acting
              contrary to his prior asserted material representations. Therefore, Liu
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                must be equitably estopped from relying upon and enforcing the
   1
                Employment Agreement.” SAA ¶19.
   2

   3
             • Twentieth Affirmative Defense Of Conditions Precedent: “Liu’s
               Complaint is barred, in whole or in part, because he failed to meet
   4           certain conditions precedent to FF’s obligations under the Employment
   5           Agreement. Liu’s performance of his job duties was a condition
               precedent to receiving payment for such duties. However, Liu refused
   6           or failed to fulfill his job duties under his roles with FF and to fulfill
   7           the promises that he made to FF to induce FF to hire him.
               Accordingly, there was a failure of these conditions precedent to Liu
   8           receiving any benefits under the Employment Agreement.” SAA ¶20.
   9
             • Twenty-First Affirmative Defense Of Intervening Superseding Causes:
  10
               “Liu’s Complaint is barred, in whole or in part, because any alleged
  11           harm was due to intervening and/or supervening causes. Liu’s
               complained of damages were proximately caused by his own failure
  12
               to perform his job duties, as detailed in FF’s SAC and incorporated
  13           herein, which constitutes an intervening or superseding cause of the
               damages he alleges in the Complaint.” SAA ¶21.
  14

  15         • Twenty-Second Affirmative Defense: “Liu acted in bad faith when he
               refused to perform job functions and act in FF’s best interest, despite
  16
               a fiduciary duty to do so.” SAA ¶22.
  17

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             • Twenty-Seventh Affirmative Defense Of Breach Of The Implied
               Covenant Of Good Faith And Fair Dealing: “Liu’s Complaint is barred,
  19           in whole or in part, on the ground that Liu breached the implied
  20           covenant of good faith and fair dealing in the Employment Agreement.
               Liu’s failure or refusal to perform did not constitute a direct breach
  21           of the Employment Agreement, his conduct frustrated the purpose of
  22           that agreement, destroying and injuring FF’s right to receive the
               benefits of that agreement.” SAA ¶27.
  23
             Under these circumstances, FF and Smart King’s affirmative defenses (like FF’s
  24
       now-dismissed fifth and sixth counterclaims) put at issue the entirety of Plaintiff’s
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       performance while he was employed by FF. Accordingly, Defendants have waived the
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       privilege as to attorney-client communications concerning Plaintiff’s employment
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   1   performance. There is no reason for the Court to modify its Order based on the
   2   dismissal of the fifth and sixth counterclaims.
   3      II.      DEFENDANTS CANNOT BELATEDLY “CLAW BACK” THEIR
                   WAIVER, BECAUSE PLAINTIFF WAS AND CONTINUES TO BE
   4
                   PREJUDICED BY THEIR IMPROPER PRIVILEGE ASSERTIONS
   5            Even if the Court is inclined to revisit the scope of Defendants’ waiver, it is too
   6   late for Defendants to put the privilege genie back in the bottle. Parties cannot withdraw
   7   claims in order to “retract” a waiver after having already benefited from their assertion
   8   of privilege. See Apple Inc. v. Samsung Elecs. Co,, 2015 WL 3863249, at *11-12 (N.D.
   9   Cal. June 19, 2015) (noting that precedent does not allow a party to “withdraw
  10   arguments after that party had already advanced, and benefited from, the arguments …
  11   Samsung, having already benefited from its arguments to Judge Grewal about the
  12   contents of the privileged documents, cannot now seek to withdraw those
  13   arguments”).
  14            Here, throughout this litigation, Defendants have employed a strategy of
  15   attacking Plaintiff using selective disclosures of privileged and confidential materials,
  16   while denying Plaintiff access to any privileged and confidential materials that support
  17   his case. For example, as the Court correctly recognized at the April 26 hearing,
  18   Defendants selectively leaked information about Sidley Austin’s review of Plaintiff’s
  19   employment agreement in support of their counterclaim concerning Plaintiff’s alleged
  20   violation of attorney ethics rules during the negotiation of that agreement, without
  21   providing any discovery that would allow Plaintiff to test Defendants’ assertions about
  22   Sidley Austin’s role.
  23            Since the Order was issued, Defendants have doubled down on this strategy.
  24   Indeed, just hours after the Order was issued, on the evening of April 26, Defendants
  25   filed a motion for summary judgment seeking judgment on all of Plaintiff’s remaining
  26   claims and requiring Plaintiff to respond by May 3, 2021, less than a week from today.
  27   In their brief in support of the motion, Defendants claim that the “the uncontroverted
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   1   facts” require the dismissal of all of Plaintiff’s claims. ECF 131-1, at 1. Nowhere in
   2   their summary judgment motion do Defendants acknowledge that (as demonstrated in
   3   the Motion) they are selectively and improperly withholding over a thousand documents
   4   under the guise of “privilege” that are required to be produced by May 5, 2021 under
   5   the Order. Nor do Defendants acknowledge that depositions in this action have been
   6   abruptly shut down on the eve of trial based upon Defendants’ continued improper
   7   assertions of Privilege. Plaintiff’s ability to respond to Defendants’ motion (and obtain
   8   critical discovery and prepare for trial) has been unduly prejudiced by Defendants’
   9   gamesmanship regarding privilege. Having gained a significant advantage in briefing
  10   and trial preparation by cutting off Plaintiff’s access to discovery based upon meritless
  11   privilege assertions, Defendants cannot now “retract” their waiver.
  12                                      CONCLUSION
  13         For all of the foregoing reasons, the Order should not be modified. To the extent
  14   the Court considers any modification of the Order to limit the scope of a privilege
  15   waiver, the Court should require (as a condition of any such modification) that
  16   Defendants immediately dismiss with prejudice any remaining claims or defenses that
  17   place Plaintiff’s performance during his employment at issue.
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       DATED: April 27, 2021
  21                                         FOUNDATION LAW GROUP LLP
  22

  23
                                             By:/s/ Kevin D. Hughes
  24                                              KEVIN D. HUGHES
                                                  Counsel for Plaintiff/Counter-
  25
                                                  Defendant Hong Liu
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                                        By: /s/ Amiad Kushner
   4                                         AMIAD KUSHNER
   5
                                             JAKE NACHMANI
                                             Counsel for Plaintiff/Counter-
   6                                         Defendant Hong Liu
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1                               CERTIFICATE OF SERVICE
2          I hereby certify that on this day I caused a true and correct copy of the foregoing
3    to be filed using the Court’s Electronic Filing System (“ECF System”). The document
4    is available for viewing and downloading via the ECF System and will be served by
5    operation of the ECF System upon all counsel of record.
6

7    Dated: April 27, 2021                               /s/ Kevin D. Hughes
8                                                           Kevin D. Hughes
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